                                   Case 2:18-cv-00541-JNP Document 1 Filed 07/06/18 Page 1 of 1

JS 44 (Rev. 06/17)                                                                 CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadin&s or other papers as required by law, except ii~
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requrred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEX'I' PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
Yedid Lawi                                                                                                                PolarityTE, Inc., Denver Lough, Jeff Dyer

     (b) County ofResidence of First Listed Plaintiff                   Kings County (NY)                                    County of Residence of First Listed Defendant                         _S_a_l_t_L_a_k_e_______
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                            NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Finn Name, Address, and Telephone Number)                                                                Attorneys (I/Known)
Harper Law, PLC, PO Box 581468, Salt Lake City, Utah 84158
801-910-4357

II. BASIS OF JURISDICTION (Place an "X" In One Box Only)                                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" tn one Box/or Plaintiff
                                                                                                                       (For Diversity Cases Only)                                               and One Box/or Defendant)
0 1 U.S. Government                     ~ 3    Federal Question                                                                                 PTF               DEF                                         PTF      DEF
       Plaintiff                                 (U.S. Government Not a Party)                                   Citizen of This State           0 1               1!11: 1 Incorporated or Principal Place      0 4     0 4
                                                                                                                                                                             of Business Jn This State

0 2 U.S. Government                     0 4 Diversity                                                            Citizen of Another State               ra: 2      0     2     Incorporated and Principal Place               0 5        0 5
       Defendant                              (Indicate Citizenship of Parties In Item III)                                                                                       of Business Jn Another State

                                                                                                                                                        03         0           Foreign Nation                                 0 6        0 6

IV NATURE OF SUIT (Place an "X" In One Box Only)                                                                                                                    Click here for: Nature of Suit Code Descnntlons.
           ''''Clm •                                                    1@ArJ.1                 '   '                 @lU!.Till!r~(PJl,N'i        "         i:,                 Jll{!)), i          ~u-•Ji<m'()'JlllliSw""'?<I

0    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY                     0 625 Drug Related Seizure                 0 422 Appeal 28 USC 158
                                                                                                                                                            0 375 False Claims Act . :.'.
0    liOMarine                         0 310Airplane                       0 365Personallnjury •                        ofProperty21 USC881                 0 423Withdrawal
                                                                                                                                                            0 376QuiTam(31 USC
0    130 Miller Act                    0 315 Airplane Product                     Product Liapi\ity              CJ 690 Other                                     28 USC 157
                                                                                                                                                                    3729(a))
0    140 Negotiable Instrument                 Liability                   0 367 Health Care/                                                               0 400 State Reapportionment ...... .
0    150 Recovery of Overpayment       0 320 Assault, Libel &                    Pharmaceutical                                ~k!ilmi~mi~·~<iUJKmi·~· 0 410 Antitrust
 .         & Enforcement of Judgment           Slander                           Personal Injury                                CJ 820 Copyrights           0 430 Banks and Banking
0    151 Medicare Act                  0 330 Federal Employers'                  Product Liability                              CJ 830 Patent               0 450 Commerce
0    152 Recovery of Defaulted                 Liability                   0 368 Asbestos Personal                              0 835 Patent· Abbreviated   CJ 460 Deportation
           Student Loans               CJ 340 Marine                              Injury Product                                       New Drug Application 0 470 Racketeer Influenced and
       : ·(Excludes Veterans)          0 345 Marine Product                       Liability  11Jl!BlltlfillDlll!BfjCJD84~0~Tira~di;em§iar~kfmii!i3B!lllQ            Corrupt Organizations
 0   153 Recovery of Overpayment               Liability                                     Pi " . • , : ·'
                                                                            PERSON AL PROPERTY                    "      . " \.                             0 480 Consumer Credit
           ofVeteran'sBenefits         0 350MotorVehicle                   0 3700therFraud    0 710FairLaborStandards           0 861 HJA(l395ff)           0 490Cable/SatTV
 0   160 Stockholders' Suits           0 355 Motor Vehicle                 0 371 Truth in Lending    Act                        0 862 Black Lung (923)      OI( 850 Securities/Commodities/
 0   190 Other Contract                       Product Liability            0 380 Other Personal
                                                                                              0 720 Labor/Management            0 863 DJWC/DJWW (405(g))            Exchange
 0   195 Contract Product Liability    0 360 Other Personal                      Property Damage     Relations                  0 864 SSID Title XVI        0 890 Other Statutory Actions
 0   196 Franchise                            Injury                       0 385 Property Damage
                                                                                              0 740 Railway Labor Act           CJ 865 RSI (405(g))         0 891 Agricultural Acts
                                       0 362 Personal Injury·                    Product Liability
                                                                                              0 751 Family and Medical                                      0 893 Environmental Matters
                                              Medical Malpractice                                    Leave Act                                              0 895 Freedom oflnformation
llRJEm!~·,~~,~',!jj.~!D!Jmall~~!l:iJJ!'l'~'~!l:I·~-Ql~~S]ij.w:ii\lJll,1~mKlj"'·J\l!IJi.lm!~DJi~o 7900therLaborLitigation        "-'.,    rui                        Act
 0 210 Land Condemnation        0 440 Other Civil Rights        Habeas Corpus:                0 791 Employee Retirement         0 870 Taxes (U.S. Plaintiff 0 896 Arbitration           ..........
 0 220 Foreclosure              0 441 Voting                 0 463 Alien Detainee                   Income Security Act                or Defendant)        0 899 Administrative Procedure1 .. if
 0 230 Rent Lease & Ejectment   0 442 Employment             0 510 Motions to Vacate                                            0 871 lRS-Third Party               Act/Review or Appeal of
 0 240 Torts to Land            CJ 443 Housing/                     Sentence                                                            26 USC 7609                 Agency Decision        · ··
 0 245 Tort Product Liability          Accommodations        CJ 530 General                                                                                 0 950 Constitutionality of , ..
 0 290 All Other Real Property  0 445 Amer, w/Disabilities • 0 535 Death Penalty                             m\lJJ                                                  State Statutes
                                       Employment               Other:                        0 462 Naturalization Application
                                0 446 Amer. w/Disabilities • 0 540 Mandamus & Other           0 465 Other Immigration
                                       Other                 0 550 Civil Rights                     Actions
                                0 448 Education              0 555 Prison Condition
                                                             0 560 Civil Detainee •
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an "X"inOneBoxOnly)                                                                                                                                                                                                     . ··::J
~    1 Original           0 2 Removed from                    a     3     Remanded from                   0 4 Reinstated or              0 S Transferred from                  0 6 Multidistrict                   0 8 Multidistrict
       Proceeding       •     State Court                                 Appellate Court                     Reopened                       Another District                      Litigation •                      · Litigation - ·
                                                                                                                                                 (s ecfM                           Transfer                            Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do 11ot cite j11rlsdlctlonal stat11tes 1111/ess diversity):
VI. CAUSE OF ACTION                                                                                                 f t.;;..h=e......s_e~c=ur_it-..ie_s-E=x-ch_a_n=e--A_c.._to_f_.1_9_34.--a.-..nd;;;...;.,;R,_u_le-.1_0_.b_.......-5____________
                                          .....s'""'e"'"c""tio_n""'s._1""0""'b-......;;a;;.;,,n=d-2_o""'a;:,,i...;o....
                                            Brief description of cause:
                                            Fraudulent misre resentatlon under federal securities laws.
VII. REQUESTED IN . ~ CHECK IF THIS IS A CLASS ACTION            DEMAND $                                                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                                                             JURY DEMAND:         ~Yes       ONo
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                              JUDGE  Jill N. Parrish                                                                                                  DOCKET NUMBER 2:18-CV-00510-JNP
DATE                                                                              SIONATURE OF ATTORNEY OF RECORD                                                                                                                           ;,

07/06/2018                                                                    /s/ Jon V. Harper
FOR OFFICE USE ONLY

     RECEIPT#                    AMOUNT
                                                                                                                                                  Case: 2: 18-cv-00541
                                                                                    APPLYING lFP
                                                                                                                                                  Assigned To: Warner, Paul M.
                                                                                                                                                  Assign. Date: 7/6/2018
                                                                                                                                                  Description: Lawi v. PolarityTE et al
